Case 1:11-cv-05191-GBD Document 41-2 Filed 09/06/13 Page 1 of 10
Case 1:11-cv-05191-GBD Document 41-2 Filed 09/06/13 Page 2 of 10
Case 1:11-cv-05191-GBD Document 41-2 Filed 09/06/13 Page 3 of 10
Case 1:11-cv-05191-GBD Document 41-2 Filed 09/06/13 Page 4 of 10
Case 1:11-cv-05191-GBD Document 41-2 Filed 09/06/13 Page 5 of 10
Case 1:11-cv-05191-GBD Document 41-2 Filed 09/06/13 Page 6 of 10
Case 1:11-cv-05191-GBD Document 41-2 Filed 09/06/13 Page 7 of 10
Case 1:11-cv-05191-GBD Document 41-2 Filed 09/06/13 Page 8 of 10
Case 1:11-cv-05191-GBD Document 41-2 Filed 09/06/13 Page 9 of 10
Case 1:11-cv-05191-GBD Document 41-2 Filed 09/06/13 Page 10 of 10
